            Case 5:18-cr-00258-EJD Document 1722-4 Filed 01/23/23 Page 1 of 2




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10
11                             UNITED STATES DISTRICT COURT

12                           NORTHERN DISTRICT OF CALIFORNIA

13                                    SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,               ) Case No. CR-18-00258-EJD
15                                           )
            Plaintiff,                       ) DECLARATION OF WILLIAM B. EVANS
16                                           )
       v.                                    )
17                                           ) Hon. Edward J. Davila
     ELIZABETH HOLMES,                       )
18                                           )
                                             )
19          Defendant.                       )
                                             )
20                                           )

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     DECLARATION OF WILLIAM B. EVANS
     CR-18-00258 EJD
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            Case 5:18-cr-00258-EJD Document 1722-4 Filed 01/23/23 Page 2 of 2




 1                               DECLARATION OF WILLIAM B. EVANS

 2 I, William B. Evans, declare as follows:
 3          1.     I am the fiancé and partner of Elizabeth Holmes.

 4          2.     On January 30, 2022, I returned from Mexico to the United States through Tijuana.

 5 Attached as Exhibit 1 is a true and correct copy of my receipt from the toll bridge.
 6          3.     After spending a couple of days in San Diego, I drove home to Woodside, California.

 7 Attached as Exhibit 2 is a true and correct copy of a photograph of me playing with my son on the floor
 8 of our then-residence on February 2, 2022, as well as a screenshot of the properties of that photograph.
 9          4.     I remained in the United States until February 20, 2022. I took multiple domestic,

10 commercial flights between February 2 and February 20, 2022, including between San Francisco and
11 Salt Lake City. For example, attached as Exhibit 3 is a true and correct copy of my itinerary for flights
12 between San Francisco and Salt Lake City dated February 13, 2022 and February 16, 2022.
13          5.     I flew to South Africa on February 20, 2022, by way of a round-trip, commercial flight

14 booked on United Airlines. In particular, I flew from San Francisco to Newark via UA2218 and then
15 from Newark to Capetown, South Africa via UA1122. Attached as Exhibit 4 is a true and correct copy
16 of my electronic ticket.

17          6.     I returned to the United States by way of the flights identified in Exhibit 4.

18          7.     Certain personal and financial identifying information has been redacted from Exhibits 1,

19 3, and 4. Additionally, my son’s face has been redacted from Exhibit 2. If the Court needs any of these
20 items without redaction, I can provide them.
21          8.     I have not received any inquiries from the prosecutors in this case regarding my

22 international travel.
23          I declare under penalty of perjury under the laws of the United States that the foregoing is true

24 and correct to the best of my knowledge.
25          Executed this 22nd day of January, 2023 in San Diego, California.

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                                                          WILLIAM B. EVANS
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     DECLARATION OF WILLIAM B. EVANS
     CR-18-00258 EJD
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